Case 8:19-cv-02326-DOC-ADS Document 102 Filed 11/29/21 Page 1 of 1 Page ID #:1439




                           UNITED STATES DISTRICT COURT                           JS-6
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

  Case No: SA CV 19-02326-DOC – (ADSx)                        Date: November 29, 2021

   Title: "In re Merit Medical Systems, Inc. Securities Litigation"



 PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

                  Karlen Dubon                                 Not Present
                 Courtroom Clerk                              Court Reporter

         ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
               PLAINTIFF:                                 DEFENDANT:
              None Present                                 None Present


   PROCEEDINGS: (IN CHAMBERS): ORDER DISMISSING CIVIL CASE

          The Court, having been notified by counsel for the parties that this action
   has been settled re Notice of Settlement [101], hereby orders this action
   DISMISSED with prejudice. The Court hereby orders ALL proceedings in the
   case VACATED and taken off calendar. The Court retains jurisdiction for 60 days
   to vacate this order and reopen the action upon showing of good cause that the
   settlement has not been consummated.

         The Clerk shall serve this minute order on the parties.




   MINUTES FORM 11
   CIVIL-GEN                                                          Initials of Deputy Clerk: kdu
